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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Greenbelt Division

UNITED STATES OF AMERICA                      :
                                              :
v.                                            :      Criminal Case No. PX-20-0434
                                              :
JEREMY SCHULMAN                               :


 DEFENDANT JEREMY SCHULMAN’S MOTION TO RECEIVE A TRANSCRIPT OF
       MOTION HEARING HELD UNDER SEAL ON JULY 8, 2021 AND
              COPY OF SEALED DOCUMENT AT ECF NO. 59

       Pursuant to the Court’s Electronic Case Filing Policies and Procedures Manual, Section

J.1. Release of Sealed Information, Defendant Jeremy Schulman, through counsel, respectfully

moves the Court for authorization to receive a transcript of the Motion Hearing held under seal on

July 8, 2021 and a copy of the Sealed Document filed at ECF No. 59. Mr. Schulman seeks access

to the transcript and sealed document in preparation for his defense.

       Mr. Schulman therefore respectfully requests that the Court enter an order allowing Mr.

Schulman to receive a transcript of the Motion Hearing held under seal on July 8, 2021 and a copy

of the Sealed Document filed at ECF No. 59.



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Dated: July 16, 2021                       Respectfully submitted,
                                           /s/
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